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  16
                      IN THE UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18
                                   WESTERN DIVISION
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  20
       MATTHEW MADDUX                          Case No. 02:19-cv-05815-SVM-SS
  21
                  Plaintiff,                   JOINT STIPULATION, AGREED
  22
            v.                                 MOTION FOR CONTINUANCE,
  23
       GENERAL DYNAMICS LAND                   & REQUEST FOR TELEPHONIC
  24 SYSTEMS, INC.; HONEYWELL
       INTERNATIONAL INC.; and DOES            STATUS CONFERENCE
  25 1-100, inclusive,

  26              Defendants.
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   1 TO THE HONORABLE JUDGE OF SAID COURT:

   2         COMES NOW, Plaintiff Matthew Maddux (“Plaintiff” or “Maddux”),
   3 Defendant General Dynamics Land Systems, Inc. (“GDLS”) and Defendant

   4 Honeywell International Inc. (“Honeywell”) (collectively the “Parties”), by and

   5 through counsel, and pursuant to Local Rules 7-1, 16-9, 40-1, and this Court’s

   6 Standing Order and Procedures hereby stipulate, agree, and move the Court as

   7 follows:

   8         1.    This matter is currently set for trial on June 9, 2020 and Final Pretrial
   9 Conference on June 1, 2019. (Doc. # 37).

  10         2.    Despite the diligent effort and cooperation of all Parties, the current
  11 trial date and governing pretrial deadlines do not afford an adequate amount of time

  12 to prepare this matter for trial. See Ex. A – Declaration of Noah M. Wexler.

  13         3.    Good cause exists for the continuance of the current trial setting until at
  14 least November 2, 2020 accompanied by the issuance of an Amended Docket

  15 Control Order which extends the pretrial deadlines in alignment with the new

  16 requested trial date. For the convenience of the Court and its staff, the Parties have

  17 included as Exhibit B to this motion a Proposed Agreed Amended Docket Control

  18 Order for consideration should the Parties’ requested relief be granted. See Ex. B –

  19 Proposed Agreed Amended Docket Control Order.

  20         4.    The requested relief is not sought for the purposes of delay but so
  21 justice may be done. As described above, the Parties have been working diligently

  22 to prepare this matter for trial.

  23         5.    Plaintiff initiated this matter in April 2019.
  24         6.    On August 5, 2019 a status conference was held during which the court
  25 set a trial date of March 31, 2020. (Doc. # 19).

  26         7.    On October 23, 2019, upon receiving information which he considered
  27 to identify Honeywell as an additional necessary party, Plaintiff amended his

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   1 Complaint and to add Honeywell as a defendant. (Doc. # 24).

   2        8.      Defendant Honeywell timely filed its answer on December 2, 2019.
   3 (Doc. # 30).

   4        9.      On January 7, 2020, Honeywell filed a Stipulation to Vacate Trial Date
   5 and Request for Status Conference. (Doc. # 36).

   6        10.     Thereafter, the Court set this matter for trial on June 9, 2020 and set the
   7 final Pretrial Conference for June 1, 2020. (Doc. # 37).

   8        11.     Plaintiff Matthew Maddux is a U.S. Marine and his alleged injuries
   9 occurred during an on base Marine exercise while he was operating a Military

  10 owned tank. Consequently, the information, witnesses and documents at the crux of

  11 this lawsuit are controlled by the U.S. government.

  12        12.     The Parties have been diligently pursuing discovery from each other
  13 and the government in this matter. The Plaintiff has presented himself for

  14 deposition, after obtaining leave from his commanding officer as has his mother and

  15 father who are fact witnesses in this matter. Plaintiff’s brother Sean Maddux was

  16 scheduled to be deposed but as he remains an active duty service member, his

  17 deposition had to be rescheduled. In addition, Plaintiff’s fiancé’s deposition was

  18 scheduled to occur in March but it had to be cancelled due to the COVID19

  19 outbreak because the witness’s duties as a nurse and frontline first responder have

  20 not permitted her to take off time from work.

  21        13.     Defendant GDLS issued its first Touhy Request to the Marines on
  22 September 23, 2019. Defendant GDLS issued its supplemental Touhy Request to

  23 the Marines on December 2, 2019. Defendant Honeywell issued its first Touhy

  24 Request to the Marines on December 11, 2019. Plaintiff Maddux issued his first

  25 revised Touhy Request to the Marines on January 6, 2020.

  26        14.     The Touhy requests sought access to the subject tank for inspection.
  27 They also set forth several categories of relevant documents which include

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   1 maintenance and activity records for the tank and investigation reports related to the

   2 subject incident, correspondence from USMC to Defendants regarding the tank

   3 and/or the NBC system. The Touhy requests also sought assistance in scheduling the

   4 depositions of individuals, including incident witnesses, who are believed to be

   5 enlisted personnel of the Marine Corps.

   6        15.    Since last brought to the Court’s attention, the Parties have continued to
   7 work diligently to coordinate with the Marines and Army to schedule an inspection

   8 of an exemplar tank as the subject tank was not available for inspection.

   9        16.    After months of coordination, the inspection of an exemplar tank
  10 occurred on March 4, 2020 in Anniston, Alabama and was attended by Counsel,

  11 military personnel, and experts for all Parties.

  12        17.    As noted above, the Parties have requested specific documents and
  13 information from the government by way of Touhy and deposition requests. See e.g.

  14 Ex. C – Supplemental Touhy Request of GDLS. More specifically, the Parties have

  15 requested a number of categories of documents set forth with the requisite

  16 specificity in their respective Touhy requests and have requested depositions of the

  17 following individuals:

  18               a. Cpt. Christopher Silva;
  19               b. Maj. Brian Perez;
  20               c. Maj. Jason Slye;
  21               d. Sgt. Kevin Guzman;
  22               e. Sgt. Joshua Brightmon;
  23               f. Cpl. William Wood;
  24               g. LCpl. Guillermo Moreno;
  25               h. Sgt. Everett Tucker;
  26               i. Cpl. Sergio Martinez;
  27               j. LCpl. Raymond Delgado; and
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   1               k. LCpl. Marcus Salas.
   2         18.   To date, no document production from the Government has been
   3 provided nor have any non-party military personnel depositions been permitted.

   4         19.   The Government did advise that 5 of the USMC personnel who were
   5 requested for deposition are now out of the Marine Corps. The parties are pursuing

   6 the depositions of these individuals; however none are expected to appear

   7 voluntarily for deposition. Once COVID-19 restrictions are lifted they can be served

   8 with subpoenas and depositions taken.

   9         20.   In the meantime, the Parties have worked together to coordinate written
  10 discovery efforts. In the last 30 days GDLS has commenced rolling production and

  11 produced thousands of pages of documents to Plaintiff and Honeywell has provided

  12 its first set of document production to Plaintiff. Honeywell is also searching for and

  13 reviewing additional documents.

  14         21.   Plaintiff is in the process of receiving and reviewing Defendants’ initial
  15 discovery responses and production and identifying witnesses from each of the

  16 Defendants that he needs to depose in order to prepare this case for trial. Even once

  17 received, the volume of documents to be reviewed will be significant and the

  18 witness(es) with knowledge will need to be set for deposition with many of them

  19 residing outside of California. Given that Plaintiff has yet to receive these materials,

  20 it has not yet been possible for Plaintiff to identify said witnesses at this juncture.

  21         22.   In addition, upon demand of Defendants, Plaintiff volunteered to travel
  22 to California from Texas to undergo a series of Defense Medical Examinations

  23 which in turn required authorization for leave from his commanding office. These

  24 examinations were schedule to occur on March 17, 18th, and 19th, but had to be taken

  25 off calendar due to the COVID-19 state of emergency.

  26         23.   In addition, the Parties have been coordinating the depositions of
  27 Plaintiffs’ medical providers including (amongst dozens of other providers):

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   1                a. Dr. Rodney Chan;
   2                b. Dr. Johnathan Chon;
   3                c. Dr. John Culhan; and
   4                d. Dr. John Bruno
   5        24.     Unfortunately, due to the recent COVID19 outbreak and the resulting
   6 government actions restricting travel, recommended social distancing, and the recent

   7 shelter in place order issued by the Governor of California, these examinations

   8 which were coordinated months in advance had to be cancelled and the depositions

   9 of these medical providers and other fact witnesses have been indefinitely delayed.

  10        25.     It is unclear at this time when the fallout of the COVID-19 outbreak
  11 will cease. Consequently, it remains uncertain as to how long the outbreak will

  12 continue to impede discovery in what was already a significant and complex case.

  13        26.     Notably, the Parties have selected two agreed upon third party
  14 mediators and are in the process of scheduling mediation in this matter to occur in

  15 May. Plaintiff continues to work on his damage related expert reports despite the

  16 current restrictions on travel and the impediment it has created for ongoing

  17 discovery in this matter.    Plaintiff intends on providing these reports as soon as
  18 practical along with individualized demands to each of the Defendants in this matter

  19 for their consideration in advance of the mediation that is being scheduled between

  20 the Parties.

  21        27.     Pursuant to Federal Rule of Evidence 201(b)(1), the Court is requested
  22 to take Judicial Notice of the “shelter in place” orders set forth by Governor

  23 Newsome for the State of California.

  24        28.     Simply put, in light of the complexity of this matter and the
  25 impediments and difficulties arising out of the COVID-19 outbreak, the Parties

  26 jointly request that the Court, vacate the June 9, 2020 trial date and related

  27 deadlines, in order to allow the Parties to continue their efforts to obtain the

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   1 cooperation of the government with discovery and properly prepare for trial. The

   2 parties also jointly request that the Court set a scheduling conference to take place

   3 on or around June 6, 2020 (the currently set trial date) at which point the Parties can

   4 report on the status of discovery and set a feasible date for trial.

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   6
       DATED: March 26, 2020

   7 IT IS AGREED SO STIPULATED:

   8
                                       KIESEL LAW LLP
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  10                                   By:    /s/ Paul R. Kiesel
                                              Paul R. Kiesel
  11                                          Melanie Palmer
  12
                                       ARNOLD & ITKIN LLP
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  14                                   By:    /s/ Noah M. Wexler
                                              Noah M. Wexler (Pro Hac Vice)
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  16                                          Attorneys for Plaintiff Matthew Maddux

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   7                                           INTERNATIONAL INC.
   8
                                           LORBER, GREENFIELD & POLITO, LLP
   9

  10

  11                                       By: /s/ William Pascoe (with permission)
  12
                                               STEVEN M. POLITO
                                               WILLIAM T. PASCOE
  13                                           Attorneys for Defendant GENERAL
  14                                           DYNAMICS LAND SYSTEMS, INC.

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  16
                               CERTIFICATE OF SERVICE
  17

  18        I hereby certify that on March 26, 2020, I caused the foregoing to be
     electronically filed with the Clerk of the Court using the CM/ECF system which will
  19
     send notification of such filing to the e mail addresses denoted on the Electronic
  20 Mail Notice List, and I hereby certify that I caused the foregoing document or paper
     to be mailed via the United States Postal Service to the non-CM/ECF participants.
  21

  22        I certify under penalty of perjury under the laws of the United States of
       America that the foregoing is true and correct. Executed on March 26, 2020.
  23

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                                     By:     /s/ Noah M. Wexler
  25
                                             Noah M. Wexler
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